988 F.2d 130
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.BANK OF AMERICA NATIONAL TRUST AND SAVINGS ASSOCIATION,Plaintiff-Appellee,v.The UNITED STATES, Defendant and Third Party Plaintiff-Appellee,v.Maurice L. BIANCHI, Third Party Defendant-Appellant.
    No. 93-5047.
    United States Court of Appeals, Federal Circuit.
    Jan. 11, 1993.
    
      1
      DISMISSED.
    
    ORDER
    
      2
      On consideration of the notice of appeal, it appearing that a motion of the type enumerated in Fed.R.App.P. 4(a)(4) has been filed in the Court of Federal Claims rendering the notice of appeal of no effect, it is
    
    
      3
      ORDERED that the appeal be, and it hereby is, DISMISSED.
    
    